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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

 IN THE MATTER OF THE SEARCH OF
                                                     Case Number: 18-sw-6240-SKC
 E-mail accounts and information
 associated with                                     Filed Under Restriction
 croswswalkconsulting100@yahoo.com
 that is in the possession of Oath
 Holdings, Inc.

 ______________________________________________________________________________

                                            ORDER


        THIS MATTER coming before the Court upon motion of the Government to unrestrict in

 part, and the Court having considered the same,

        IT IS HEREBY ORDERED that the Application, Order, and this Motion and Order are

 unrestricted in part only to allow the disclosure by the Government to defense counsel and law

 enforcement, and that said documents shall otherwise remain under restriction at Level 3 with no

 access by the public.

        DATED this          day of December, 2018.



                                             BY THE COURT:

                                             __________________________________
                                             UNITED STATES MAGISTRATE JUDGE
                                             DISTRICT OF COLORADO
